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NICHOLAS PARKER, individually and on
behalf of all others similarly situated,
                                                   Case No. 1:l7-cv-05353-GBD
               Plaintiff,
        v.                                         STIPULATED ESI AND HARD
                                                   COPY PROTOCOL
UNITED INDUSTRIES CORPORATION,

               Defendant.




       The Parties hereby agree to the following protocol for production of electronically stored

information ("ESI") and paper ("hardcopy") documents. Subject to the agreed upon Protective

Orders in this Action, this protocol governs all productions in this action. This protocol has the

objective to facilitate the just, speedy, and inexpensive completion of discovery of ESI and

hardcopy documents and to promote, whenever possible, the early resolution of disputes,

including any disputes pertaining to scope or costs regarding the discovery of ESI without Court

intervention. Nothing in this protocol shall limit a party's right to seek or object to discovery as

set out in applicable rules, to rely on any Protective Order entered in this action concerning

protection of confidential or otherwise sensitive information, or to object to the authenticity or

admissibility of any hardcopy document or ESI produced in accordance with this protocol. The

mere production of ES! as part of a mass production shall not itself constitute a waiver for any

purpose.
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A.     GENERAL AGREEMENTS

1.     Ongoing Cooperation among the Parties

       The parties are aware of the importance the Court places on cooperation and commit to

continue to consult and cooperate reasonably as discovery proceeds. The parties recognize that

the failure of counsel or the parties to this action to cooperate in facilitating and reasonably

limiting discovery requests and responses raises litigation costs and contributes to the risk of

sanctions. The parties agree that their counsel's zealous representation of them is not

compromised by conducting discovery in a cooperative manner.

2.      Proportionality

        a.     Reasonable Discovery Limits. The proportionality standard set forth in Rule

26(b )(2)(C) of the Federal Rules of Civil Procedure ("FRCP") 1 shall apply to discovery in this

action. Consistent with that proportionality standard, the parties agree to cooperate in identifying

and agreeing to appropriate limits on discovery, including limits on the number of custodians,

discoverable data sources, and relevant time periods. The parties shall not be obligated to collect

or produce ESI created after the date of filing of the initial complaint in this action.

        b.      Discoverable Custodians and Non-Custodial Data Sources.

                1.        Consistent with the proportionality standard, each corporate party shall

                          provide to the other party a list of the party's Key Custodians. Custodians

                          shall be identified by name, title, dates of employment by the party, and a

                          brief description of their employment duties. The parties agree to meet and

                          confer in good faith in order to reach agreement regarding the identity of




1 Unless otherwise indicated, all statutory references herein are to the FRCP.

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                      the Key Custodians. Should the Parties not reach an agreement, the

                       Parties will seek assistance from the Court to resolve the issue.

               11.    The Parties agree to take reasonable steps to identify and search the

                      sources of potentially relevant and responsive information of each Key

                       Custodian for collection and search, including but not limited to hard copy

                      files, email repositories, folders within shared network drives in which

                      each Key Custodian places or maintains documents, and folders within

                      any workstation or laptop hard drives utilized by a Key Custodian, to the

                      extent that the Key Custodian has indicated that responsive documents

                      may potentially be contained within such source. Nothing in this

                      provision prevents the Parties from agreeing to collect documents from

                       Key Custodians in phases.

               iii.   Absent a showing of good cause, and subject to any further agreement

                       among the parties, the custodians and related data sources provided

                      pursuant to this paragraph shall be the presumptive limit on permissible

                       ESI discovery. If any custodian or data source identified on the Final

                       Custodian List is located outside the United States, the parties shall meet

                       and confer regarding such matters as relevancy and privacy of the data at

                       issue and, as applicable, the timing of production of any such data.

       c.      Discovery Concerning Preservation and Collection Efforts. Discovery concerning

the preservation and collection efforts of another party can contribute to unnecessary expense

and delay and may inappropriately implicate work product and attorney-client privileged matters.

If, based upon good faith, there is a dispute concerning the scope of a party's preservation or


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collection efforts, the Parties agree to meet and confer on the basis for such discovery, including

the need for the requested discovery, relevance to claims or defenses of the action,

proportionality of the proposed discovery, and the suitability of alternative means for obtaining

the information.

       d.      On-Site Inspections of ESL On-site inspections of ESI under Rule 34(b) shall be

permitted only upon a good-faith showing by the requesting party of good cause and specific

need or upon agreement of the parties. As appropriate, the Court may condition on-site

inspections of ES!, as authorized in the preceding sentence, to be performed by independent

third-party experts, and the Court may set other conditions it may deem appropriate.

       e.      Non-Discoverable ESL Consistent with the proportionality standard set forth in

the FRCP, absent a party's specific written notice for good cause, the following categories of ESI

are presumed to be inaccessible and not discoverable:

               1.      ESI deleted in the normal course of business before the time a preservation

                       obligation in this action came into effect;

               11.     Backup data files that are maintained in the normal course of business for

                       purposes of disaster recovery, including, but not limited to, backup tapes,

                       disks, SAN, and other forms of media that are substantially duplicative of

                       data that are more accessible elsewhere;

               111.    Deleted, "slack," fragmented, or unallocated data only accessible by

                       forensics;

               1v.     Random access memory (RAM), temporary files, or other ephemeral data

                       that are difficult to preserve without disabling the operating system;




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               v.      On-line access data such as (without limitation) temporary internet files,

                       history files, cache files, and cookies;

               v1.     Data in metadata fields frequently updated automatically, such as last-

                       opened or last-printed dates;

               vii.    Except as set forth below, electronic data (e.g. email, calendars, contact

                       data, and notes) sent to or from mobile devices (e.g., iPhone, iPad,

                       Android, and Blackberry devices), provided that copies of all such

                       electronic data are routinely saved elsewhere (such as on a server, laptop,

                       desktop computer, or 'cloud' storage);

               viii.   Voicemail, including Telephone or VOIP voice messages;

               1x.     Text messages and instant messages located on mobile devices;

               x.      SAS program and data files;

               x1.     Server, system, network, or software application logs;

               x11.    Data remaining from systems no longer in use that are unintelligible on the

                       systems currently in use;

               x111.   Electronic data temporarily stored by laboratory equipment or attached

                       electronic equipment, provided that such data are not ordinarily preserved

                       as part of a laboratory report; and

               xiv.    Structural files not material to individual file contents (e.g., .CCS, .XSL,

                       .XML, .OTO, etc.).

       f.      Disaster-Recovery Backup Data. Consistent with the proportionality standard of

the FRCP, absent a party's specific written notice for good cause, no party shall be required to

modify or suspend procedures, including rotation of backup media, used in the normal course of


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business to back up data and systems for disaster recovery purposes. Absent a showing of good

cause, such backup media shall be considered to be not reasonably accessible. Nothing in this

provision obviates a party's duty to implement a litigation hold.

3.     No Designation of Discovery Requests

        Productions of hardcopy documents and ESI in the reasonably usable form set out in this

protocol, including Attachment A, need not be organized and labeled to correspond to the

categories in the requests.

4.      Inadvertent Production

       The inadvertent production of any emails, ESI, or other material constituting or

containing attorney-client privileged information or attorney work-product, or which constitutes

or contains information protected by any applicable privacy law or regulation, shall be governed

by provisions contained in the Protective Order previously entered in this action.

B.     ELECTRONICALLY STORED INFORMATION

1.      Production in Reasonably Usable Form

       a.      The parties shall produce ESI in reasonably usable form. Except as stated in

paragraphs B.2 and B.3 below or as agreed hereafter by the parties, such reasonably usable form

shall be the single-page TIFF-image format with extracted or OCR text and associated metadata

as set out in Attachment A, which is incorporated in full into this protocol. If the receiving party

for good cause explained in the request seeks production in native format of specifically

identified ESI produced originally in TIFF-image form, the producing party shall respond

reasonably and in good faith to any such request.

        b.      Redactions. The Producing Party may redact from any Group IV TIFF image,

metadata field, or native file, material (i) that is protected from disclosure by applicable privilege



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or immunity, (ii) governed by applicable privacy law or regulation, or (iii) that the Protective

Order entered in this Action allows to be redacted. The parties recognize that they are unable to

reach an agreement as to whether the Producing Party may redact entire attachments that are

wholly non-responsive documents and data related to matters, products, or potential products

other than Cutter Natural Insect Repellant and may produce slipsheets in their place. Should the

Producing Party redact any such information, the Producing Party will generally identify the

content redacted and reason for the redaction so that the parties may meet and confer on the

redactions and seek court intervention if necessary. Nothing herein shall be construed as either

permitting or prohibiting any such redactions, but the parties anticipate that if such a dispute

arises the court may resolve the issue.

       c.        Each party may make requests for good cause seeking production of specifically

identified documents in color.

2.     Electronic Spreadsheets, Presentations, Desktop Databases, and Multimedia Files

       Electronic spreadsheets (e.g., Excel), electronic presentations (e.g., PowerPoint), desktop

databases (e.g., Access), and audio/video multimedia files that have been identified as responsive

shall be produced in native format, unless they are authorized to be redacted in accordance with

Paragraph 1.b above. After such redactions, the producing party either shall produce the redacted

file in the reasonably usable form set out in Attachment A or shall produce the redacted copy in

native format.

3.     Enterprise Databases and Database Management Systems

        In instances in which discoverable ESI in an enterprise database or database management

system (e.g., Oracle, SQL server, DB2) can be produced in an already existing and reasonably

available report, the parties shall collect and produce, in the reasonably usable TIFF-image form


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                 described in Attachment A, the discoverable material in that report format. If an existing report

                 form is not reasonably available, the parties shall export from the original database discoverable

                 information in a format compatible with Microsoft Excel or Microsoft Access, and the

                 information shall be produced in that native format.

                 4.      Additional Procedures for Native Format Files

                         a.     Procedures for assigning production numbers and confidentiality information to

                 files produced in native format are addressed in Appendix A, incorporated herein, at Paragraph

                 A.15.

                         b.     Any party seeking to use, in any proceeding in this action, files produced in native

                 format shall do so subject to the following:

                                1.      If the native file has been converted to TIFF-image or hardcopy, the

                                        original production number and confidentiality designation shall be

                                        stamped on each page of the resulting TIFF-image or hardcopy document

                                        representing the original native-format file, with a suffix added to the

                                        production number to identify the particular page in the file (e.g.,

                                        XYZ00001_001). In addition, the MOS or SHA-1 hash value of the native

                                        file from which the TIFF-image or hardcopy document was generated

                                        shall be placed on the first page of the TIFF-image or hardcopy document;

                                11.     If the file will be used in its native format, the party seeking to use the

                                        native file shall first provide to other parties, sufficiently in advance of

                                        such use that the producing party can confirm that the file to be used is the

                                        same as the file produced, both the production number and the MOS or

                                        SHA-1 hash value of the file; and


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               Ill.    Use of a file in native format, or use of a TIFF-image or hardcopy

                       document representing the original native-format file shall constitute a

                       representation that the file being used is an accurate and complete

                       depiction of the original native-format file.

5.     Use of Search Filters

       a.      To contain costs associated with the identification of relevant ESI for review and

production, the parties shall meet and confer to discuss either the use of reasonable search terms,

file types, and date ranges, or the use of advanced search and retrieval technologies, including

predictive coding or other technology-assisted review. The parties agree to meet and confer in

good faith to reach agreement on a list of search terms and protocols for the production of ESL

During such discussions, the producing party shall retain the sole right and responsibility to

manage and control searches of its data files. If the producing party makes revisions to search

terms or advanced technology procedures in order to make them more accurate and cost-

effective, the producing party agrees to meet and confer with the requesting party regarding such

revisions. A party's failure to meet and confer or to make a timely request for different or

additional searches as described in this paragraph shall waive that party's right to object to the

sufficiency of the searches actually conducted.

       b.      The Parties agree that a "hit" on a search term or the fact that any electronic file

has been identified in agreed-upon searches is not the sole factor in determining whether ESI is

responsive to a Party's request for production. For the avoidance of any doubt, the producing

party is not required to produce ESI containing a "hit" or search term if the document is not

otherwise responsive, is protected from disclosure by applicable privilege or immunity, governed




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by any applicable privacy laws or regulations, or that the Protective Order entered in this Action

allows to be withheld.

       c.      Nothing in this section shall limit a party's right to seek reasonable agreement

from the other parties or a Court ruling to modify previously agreed-upon search terms or

procedures for advanced search and retrieval technologies.

       d.      The receiving party shall propose an initial list of search terms to the requesting

party. The parties agree to meet and confer in good faith to finalize a list of acceptable search

terms. Should the parties be unable to resolve any disputes cooperatively, they shall promptly

bring their unresolved dispute(s) to the Court's attention.

6.     Email Threading

       a.      Email threads are email communications that contain prior or lesser-included

email communications that also may exist separately in the party's electronic files. A most

inclusive email thread is one that contains all of the prior or lesser-included emails, including

attachments, for that branch of the email thread. The parties agree that removal of wholly-

included, prior-in-time, or lesser-included versions from potential production will reduce all

parties' costs of document review, production, and litigation-support hosting. Accordingly, each

party may produce or list on any required privilege log only the most inclusive email threads.

       b.      Following production of the most inclusive email threads, and for good cause, a

receiving party may make reasonable requests, with respect to most-inclusive email threads

particularly identified in the requests, for metadata associated with individual prior or lesser-

included emails within the identified most inclusive email threads. Upon such request, the

producing party shall cooperate reasonably in responding to any such requests.




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7.     Avoidance of Duplicate Production

       a.      "Duplicate ESI" means files that are exact duplicates based on the files' MOS or

SHA-1 hash values. The producing party need produce only a single copy of responsive

Duplicate ESI. A producing party shall take reasonable steps to de-duplicate ESI globally (i.e.,

both within a particular custodian's files and across all custodians). Entire document families

may constitute Duplicate ESL De-duplication shall not break apart families. When the same

Duplicate ES I exists in the files of multiple custodians, those persons shall be listed in the

Custodian field identified in Paragraph A. l 4(c) of Attachment A.

       b.      Parties also may de-duplicate stand-alone documents or entire document families

using near-duplicate identification technology. Parties are not required to use near-de-

duplication protocols, but, if they choose to do so, the Producing Party shall disclose to the

Receiving Party the near-de-duplication protocol intended to be used prior to employing such

protocol.

       c.      Within three days of being notified of the near-de-duplication protocol a

Producing Party wishes to use, a Receiving Party shall have the right to object to the use of such

protocol. If no objection is made, the Producing Party is free to use the near-de-duplication

protocol proposed.

C.     DOCUMENTS THAT EXIST ONLY IN HARDCOPY (PAPER) FORM

       A party may produce documents that exist in the normal course of business only m

hardcopy form either (a) in their original hardcopy form, or (b) scanned and produced, with

Bates numbers added and redacted as necessary in accordance with the procedures set out in

Attachment A. Except as set out in section A.4 above, the scanning of original hardcopy

documents does not otherwise require that the scanned images be treated as ESL


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       The Parties will produce paper documents according to the following protocol:

       1.      Except as provided in Section C.2, all paper documents shall be produced as

Group IV TIFF images with related Optical Character Recognition ("OCR") text files and a

cross-referenced load file, according to the specifications set forth in Appendix A.

       2.      The Parties reserve the right to make responsive hard copy documents available

for inspection pursuant to Federal Rule of Civil Produce 34.

D.     CONFIDENTIALITY

       The Parties incorporate the provisions of any discovery confidentiality order and/or

protective order concerning protection of confidential or otherwise sensitive information that

may be agreed to by the Parties and/or entered by the Court. For the avoidance of doubt, nothing

in this Stipulation shall supersede or alter any discovery confidentiality agreement and/or

protective order concerning protection of confidential or otherwise sensitive information that

may be entered by the Court.

E.     CLAIMS OF PRIVILEGE

       Except as provided herein, the Parties will comply with rules and principals related to

privilege logs as set forth in Fed. R.Civ. P. 26(b)(5) and Local Rule 26.2.

F.     ORIGINAL DOCUMENTS

       The Parties will retain the original hard-copy and ESI documents. Subject to preservation

of appropriate privileges and other protections, the Parties will consider reasonable requests,

after any necessary meet and confer, to produce the original copy and ESI documents of specific

documents or groups of documents, or where a document existed originally in only hard-copy

format, make originals of any produced document available for inspection by the requesting

Party in the form in which such documents are kept in the ordinary course of business.


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Dated: February 22, 2018              By:

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IT IS SO ORDERED.



DATED: _ _ _'_fE .. _?_~_'
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                                         Hon.      aniels
                                         UNIT      S DISTRICT JUDGE   t   Yi'L




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                                        ATTACHMENT A

        A 1.   Image Files. Files produced in *.tif format will be single page black and white

*.tif images at 300 DPI, Group IV compression. To the extent possible, original orientation will
be maintained (i.e., portrait-to-portrait and landscape-to-landscape). Each * .tif image will be

assigned a unique name matching the production number of the corresponding page. Such files

will be grouped in folders of no more than 1,000 *.tif files each unless necessary to prevent a file

from splitting across folders. Files will not be split across folders and separate folders will not be

created for each file. Production ("Bates") numbers shall be endorsed on the lower right corner

of all images. This number shall be a unique, consistently formatted identifier that will:

                       a.      be consistent across the production;

                       b.      contain no special characters; and

                      c.     be numerically sequential within a given file.
         Bates numbers should be a combination of an alpha prefix along with an 8 digit number

(e.g. ABCOOOOOOOl). The number of digits in the numeric portion of the Bates number format

should not change in subsequent productions. Confidentiality designations, if any, will be

endorsed on the lower left corner of all images and shall not obscure any portion of the original

file.

         A2.    File Text. Except where ESI contains text that has been redacted under assertion

of privilege or other protection from disclosure, full extracted text will be provided in the format

of a single *.txt file for each file (i.e., not one *.txt file per *.tif image). Where ESI contains text

that has been redacted under assertion of privilege or other protection from disclosure, the

redacted *.tif image will be OCR' d and file-level OCR text will be provided in lieu of extracted

text. Searchable text will be produced as file-level multi-page UTF-8 text files with the text file

named to match the beginning production number of the file. The full path of the text file must



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be provided in the * .dat data load file. The text file shall include the bates-numbered page of the

associated text.

        A3.        Unitization. A unitization file, in standard format (e.g., Concordance, Opticon,

Summation 011, or the like) showing the Bates number of each page, the appropriate unitization

of the documents, and the entire family range, will accompany each Group IV TIFF document.

The unitization of the document and any attachments shall be maintained as it existed in the

original when creating the image file. The relationship of documents in a document collection

(e.g., cover letter and enclosures, email and attachments, binder containing multiple documents,

or other documents where a parent-child relationship exists between the documents) shall be

maintained through the scanning or conversion process. If more than one level of parent-child

relationship exists, documents will be kept in order, but will be treated as children of the initial

parent document. Such information shall be produced in the load file, in a manner to enable the

parent-child relationship among documents in a document collection to be reconstituted by the

Receiving     Party    in   commercially   available    document   management   software    such   as

Concordance.

        A4.        Word Processing Files. Word processing files, including without limitation

Microsoft Word files (*.doc and * .docx), will be produced in the above format with tracked

changes, comments, and hidden text showing.

        AS.        Presentation Files. To the extent that presentation files, including without

limitation Microsoft Power Point files(* .ppt and* .pptx), are produced in* .tif image format, such

* .tif images will display comments, hidden slides, speakers' notes, and similar data in such files.




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       A6.      Spreadsheet or Worksheet Files. To the extent that spreadsheet files, including,

without limitation, Microsoft Excel files (*.xis or * .xlsx), are produced in * .tif image format,

such * .tif images will display hidden rows, columns, and worksheets, if any, in such files.

       A 7.     Parent-Child Relationships. Parent-child relationships (e.g., the associations

between emails and their attachments) will be preserved. Email and other ESI attachments will

be produced as independent files immediately following the parent email or ESI record. Parent-

child relationships will be identified in the data load file pursuant to paragraph A.14 below.

       A8.      Dynamic Fields. Files containing dynamic fields such as file names, dates, and

times will be produced showing the field code (e.g., "[FILENAME]" or "[AUTODATE]"),

rather than the values for such fields existing at the time the file is processed.

       A9.      English Language. To the extent any data exists in more than one language, the

data will be produced in English, if available. If no English version of a file is available, the

producing party shall not have an obligation to produce an English translation of the data.

        A10.    Embedded Objects. Some Microsoft Office and .RTF files may contain embedded

objects. Such objects typically are the following file types: Microsoft Excel, Word, PowerPoint,

Project, Outlook, and Access; and PDF. Objects with those identified file types shall not be

extracted as separate files and produced as attachments to the file in which they were embedded.

Following production of documents containing embedded objects, the Parties may meet and

confer on reasonable requests to produce certain embedded objects on a file by file basis.

        A 11.   Compressed Files. Compressed file types (i.e., .CAB, .GZ, .TAR .. Z, .ZIP) shall

be decompressed in a reiterative manner to ensure that a zip within a zip is decompressed into

the lowest possible compression resulting in individual files.




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       A 12.   Encrypted Files. The producing party will take reasonable steps, pnor to

production, to unencrypt any discoverable electronically stored information that exists m

encrypted format (e.g., because password-protected) and that can be reasonably unencrypted.

       A 13.    Fixed Notes. For documents that contain fixed notes (e.g., "post-it notes"), the

pages will be scanned or converted both with and without notes and those pages will be treated

as part of the same document. If the burden on the Producing Party associated with production

of documents with fixed notes becomes unreasonable, the Parties agree to meet and confer on the

requirements of this subparagraph.

       A 14.    Scanned Hardcopy Documents

       a.      In scanning hardcopy documents, multiple distinct documents should not be

merged into a single record, and single documents should not be split into multiple records (i.e.,

hard copy documents should be logically unitized).

       b.      OCR for scanned images of hard copy documents should be performed on a

document level and provided in document-level           *.txt   files named to match the production

number of the first page of the document to which the OCR text corresponds. OCR text should

not be delivered in the data load file or any other delimited text file.

       c.       In the case of an organized compilation of separate hardcopy documents-for

example, a binder containing several separate documents behind numbered tabs-the document

behind each tab should be scanned separately, but the relationship among the documents in the

binder should be reflected in proper coding of the family fields set out below.

       A 15.    Production Numbering.       In following the requirements of Paragraph A. l, the

producing party shall take reasonable steps to ensure that attachments to documents or electronic

files are assigned production numbers that directly follow the production numbers on the


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documents or files to which they were attached. If a production number or set of production

numbers is skipped, the skipped number or set of numbers will be noted. In addition, wherever

possible, each * .tif image will have its assigned production number electronically "burned" onto

the image.

       A 16.   Data and Image Load Files.

       a.      Load Files Required. Unless otherwise agreed, each production will include a data

load file in Concordance (* .dat) format and an image load file in Opticon (*.opt) format.

       b.      Load File Formats.

               1.     Load file names should contain the volume name of the production media.

       Additional descriptive information may be provided after the volume name. For example,

       both ABCOO l .dat or ABCOO l _ metadata.dat would be acceptable.

               11.     Unless other delimiters are specified, any fielded data provided in a load

       file should use Concordance default delimiters. Semicolon (;) should be used as multi-

       entry separator.

               n1.    Any delimited text file containing fielded data should contain in the first

       line a list of the fields provided in the order in which they are organized in the file.

       c.      Fields to be Included in Data Load File. For all documents or electronic files

produced, the following metadata fields for each document or electronic file, if available at the

time of collection and processing and unless such metadata fields are protected from disclosure

by attorney-client or work-product privilege, or otherwise prohibited from disclosure by law or

regulation, including any applicable privacy regulation or law, will be provided in the data load

file pursuant to subparagraph (a), above, except to the extent that a document or electronic file

has been produced with redactions. The term "Scanned Docs" refers to documents that are in


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hard copy form at the time of collection and have been scanned into          *.tif images.      The term

"Email and E-Docs" refers to files that are in electronic form at the time of their collection.

Field               Sample Data          Scanned Docs    Email and E-Docs     Comment
PRODBEG             ABCOOOOOOO I         Yes             Yes                  Beginning production number

PROD END            ABC00000008          Yes             Yes                  Ending production number

PRODBEGATT          ABC00000009          Yes             Yes                  Beginning production number
                                                                              of parent in a family
PRODENDATT          ABCOOOO 1005         Yes              Yes                 Ending production number of
                                                                              last page of the last attachment
                                                                              in a family
PRODCOUNTATT        2                    Yes             Yes                  The number of attachments
                                                                              associated with a family
CUSTODIAN           Smith, John          Yes             Yes                  Custodian(s) that possessed the
                                                                              document or electronic file-
                                                                              multiple custodians separated
                                                                              by semicolon
NATIVEFILE          N atives\001\001 \   NIA              Yes                 Path and file name for native
                    ABC                                                       file on production media
                    00000001.xls
FILEDESC            Microsoft Office     NIA              Yes                 Description of the type file for
                    2007 Document                                             the produced record.
FOLDER              \My                  NIA              Yes                 Original source folder for the
                    Documents\Docu                                            record produced.
                    mentl .doc
FILENAME            Document! .doc       NIA              Yes                 Name of original electronic file
                                                                              as collected.
DOC EXT             DOC                  NIA             Yes                  File extension for email ore-
                                                                              doc
PAGES               2                    Yes             Yes                  Number of pages in the
                                                                              produced document or
                                                                              electronic file (not applicable
                                                                              to native file productions).
AUTHOR              John Smith           NIA             Yes                  Author information as derived
                                                                              from the properties of the
                                                                              document.
DATECREATED         I 010912005          NIA             Yes                  Date that non-email file was
                                                                              created as extracted from file
                                                                              system metadata
DA TELASTMOD        I 010912005          NIA             Yes                  Date that non-email file was
                                                                              modified as extracted from file
                                                                              system metadata
LASTSAVEDBY         John Smith           No               Yes                 Name of individual who last
                                                                              saved non-email file as
                                                                              extracted from file system
                                                                              metadata
SUBJECT             Changes to           NIA              Yes                 "Subject" field extracted from
                    Access Database                                           email message or mctadata
                                                                              properties of the document
FROM                John Beech           NIA              Yes                 "From" field extracted from
                                                                              email message
TO                  Janice Birch         NIA              Yes                 ''To" field extracted from email
                                                                              message
cc                  Frank Maple          NIA              Yes                 "Cc" or "carbon copy" field
                                                                              extracted from email message



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BCC                   John Oakwood        NIA            Yes                 "Bee" or "blind carbon copy"
                                                                             field extracted from email
                                                                             message
DATESENT              I 0/1012005         NIA            Yes                 Sent date of email message
                                                                             (mm/ddlyyyy format)
TIMES ENT             10:33 am            NIA            Yes                 Sent time of email message,
                                                                             time zone set to GMT
DATERCVD              I Oil 0/2005        NIA            Yes                 Received date of email
                                                                             message (mm/ddlyyyyformat)
TIMERCVD              10:33 am            NIA            Yes                 Received time of email
                                                                             message, time zone set to GMT
READ UNREAD           Unread              NIA            Yes                 ·'Read" or "unread'' status of an
                                                                             email message
IMPORTANCE            High Importance     NIA            Yes                 Importance Designations given
                                                                             to email documents extracted
                                                                             from email message
HASHVALUE             e4d909c290d         No             Yes                 MD5 or SHA- I hash value
                      Ofblca068ff
                      addf22cbd0
CONFIDENTIALITY       HIGHLY              Yes            Yes                 Text of confidentiality
                      CONFIDENTIAL                                           designation, if anv
TEXTPATH              Text\00 I \00 I\    Yes            Yes                 Path to *.txt file containing
                      ABCOOOOOOO I. txt                                      extracted or OCR text
PRODVOL               VOLOOI              Yes            Yes                 Name of the Production
                                                                             Volume
APPTDATE- START       I Oil 0/2005        NIA            Yes                 Calendar appointment start
                      5:00:00 pm                                             date and time
APP TD A TE END       I Oil 112005        NIA            Yes                 Calendar appointment end date
                      2:00:00 pm                                             and time



         A 17.    Files Produced in Native Format. Any electronic file produced in native file

format shall be given a file name consisting of a unique Bates number and, as applicable, a

confidentiality designation; for example, "ABC00000002_[0riginal File Name]_Confidential."

For each native file produced, the production will include a *.tif image slipsheet indicating the

production number of the native file and the confidentiality designation, and stating "File

Provided Natively". To the extent that it is available, the original file text shall be provided in a

file-level multi-page UTF-8 text file with a text path provided in the *.dat file; otherwise the text

contained on the slipsheet shall be provided in the * .txt file with the text path provided in the

*.dat file.

         A 18.    Production Media. Unless otherwise agreed, documents and ESI will be produced

on optical media (CD/DVD), external hard drive, secure FTP site, or similar electronic format.

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Such media should have an alphanumeric volume name; if a hard drive contains multiple

volumes, each volume should be contained in an appropriately named folder at the root of the

drive. Volumes should be numbered consecutively (ABCOOl, ABC002, etc.). Deliverable media

should be labeled with the name of this action, the identity of the producing Party, and the

following information: Volume name, production range(s), and date of delivery.

       A 19.   Encryption of Production Media. To maximize the security of information in

transit, any media on which documents or electronic files are produced may be encrypted by the

producing party. In such cases, the producing party shall transmit the encryption key or password

to the requesting party, under separate cover, contemporaneously with sending the encrypted

media. The receiving parties in this matter are on notice that certain data produced may originate

from custodians in the European Union and the receiving parties therefore agree to follow the

strictest security standards in guarding access to said data.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 22, 2018, a copy of the foregoing STIPULATED ESI

AND HARD COPY PROTOCOL was filed electronically. Notice of this filing will be sent to

all parties by operation of the Court's electronic filing system. Parties may access this filing

through the Court's system.




                                                   Isl Ronie M. Schmelz
                                                   Attorney for Defendant United Industries
                                                   Corporation




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